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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                             Case No. 09-CR-0095(2) (PJS/JSM)

                       Plaintiff,
                                                      ORDER ADOPTING REPORT AND
 v.                                                       RECOMMENDATION

 JESSIE ULYSSES BROWN (2),

                       Defendant.

       Thomas M. Hollenhorst, UNITED STATES ATTORNEY’S OFFICE, for plaintiff.

       Douglas Olson, FEDERAL DEFENDER’S OFFICE, for defendant.

       Defendant Jessie Brown is charged with conspiracy to distribute cocaine base and

possession of cocaine base with intent to distribute. This matter is before the Court on Brown’s

objection to Magistrate Judge Janie S. Mayeron’s June 8, 2009 Report and Recommendation

(“R&R”). Judge Mayeron recommends denying Brown’s motion to suppress search and seizure

evidence obtained during two searches of a residence.1 The Court has conducted a de novo

review. See 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b)(3). Based on that review, the Court

adopts the R&R.

                                            ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein, the Court

overrules Brown’s objection [Docket No. 38] and ADOPTS the R&R [Docket No. 35]. IT IS

HEREBY ORDERED that:




       1
        Based on Brown’s representations at the hearing, Judge Mayeron also recommends that
Brown’s motion to suppress statements, admissions, and answers be withdrawn. Brown has not
objected to this recommendation.
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      1.     Defendant’s motion to suppress evidence obtained as a result of search and

             seizure [Docket No. 24] is DENIED.

      2.     Defendant’s motion to suppress statements, admissions, and answers [Docket

             No. 25] is WITHDRAWN.

Dated: July 6, 2009                            s/Patrick J. Schiltz
                                               Patrick J. Schiltz
                                               United States District Judge




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